

People v Credle (2020 NY Slip Op 06202)





People v Credle


2020 NY Slip Op 06202


Decided on October 29, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 29, 2020

Before: Renwick, J.P., Gesmer, Kern, Singh, JJ. 


Ind No. 649/17 Appeal No. 12222 Case No. 2019-1158 

[*1]The People of The State of New York, Respondent, 
vIsaiah Credle, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Allen Fallek of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Patrick McGrath, J.), rendered January 26, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 29, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








